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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

  CONLEY F. MONK, JR.,

                        Plaintiff,

       v.                                            Case No. 3:22-cv-1503 (JBA)

  THE UNITED STATES OF AMERICA

                        Defendant.



            MOTION FOR ADMISSION OF YAMAN SALAHI AS VISITING
                         ATTORNEY PRO HAC VICE
       Pursuant to L. Civ. R. 83.1(d) of the Local Civil Rules of the United States District Court

for the District of Connecticut, the undersigned counsel, a member of the Bar of this Court,

respectfully moves for the admission pro hac vice of Yaman Salahi as counsel of record for

Plaintiff Conley F. Monk, Jr. in this action. The admission of Mr. Salahi pro hac vice would not

require modification of any existing scheduling orders or deadlines.

       Pursuant to L. Civ. R. 83.1(d)(1), the Declaration of Yaman Salahi is filed in support of

this motion and is attached as Exhibit A. The undersigned further states:

       1.      Mr. Salahi is a partner at Edelson PC based in the firm’s San Francisco office.

His office address and contact information is:

                                          Edelson PC
                                150 California Street, 18th Floor
                                  San Francisco, CA 94111
                                     Tel: (415) 638-9903
                                     Fax: (415) 373-9435
                                 Email: ysalahi@edelson.com

       2.      Mr. Salahi is a member of good standing of the Bar of the State of California

(admitted January 22, 2013, Bar No. 288752). He is currently pending admission to the Bar for



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the District of Columbia, but has not yet been admitted or assigned a bar number. He has never

been a member of any state’s bar other than the foregoing. He has also been admitted to

practice in the United States District Court for the Central District of California (admitted

January 22, 2013), the United States District Court for the Northern District of California

(admitted February 6, 2014), the United States District Court for the Eastern District of

Michigan (admitted February 21, 2018), the United States District Court for the District of

Columbia (admitted April 5, 2021), the United States District Court for the Southern District of

California (admitted February 28, 2022), the Northern District of Illinois (admitted June 22,

2022), the United States Court of Appeals for the Third Circuit (admitted November 21, 2022),

the United States Court of Appeals for the Fourth Circuit (admitted November 23, 2022), the

United States Court of Appeals for the Fifth Circuit (admitted September 22, 2020), United

States Court of Appeals for the Sixth Circuit (admitted December 17, 2019), United States

Court of Appeals for the Seventh Circuit (admitted February 17, 2023), United States Court of

Appeals for the Ninth Circuit (admitted February 1, 2013), United States Court of Appeals for

the Eleventh Circuit (admitted October 15, 2020), and United States Court of Appeals for the

Federal Circuit (admitted October 18, 2021).

       3.      Mr. Salahi has no pending disciplinary complaints as to which a finding has been

made that such complaint should proceed to a hearing. Mr. Salahi never has been denied

admission to, been disciplined by, resigned from, surrendered a license to practice before any

court, or withdrawn an application for admission to practice before this Court or any other court

while facing a disciplinary complaint.

       4.      Mr. Salahi has fully reviewed and is familiar with the Federal Rules of Civil

Procedure, the Local Rules of the United States District Court for the District of Connecticut,




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and the Connecticut Rules of Professional Conduct.

       5.       Mr. Salahi designates the undersigned, Michael J. Wishnie, a member in good

standing of the Bar of this Court and the lawyer sponsoring his application pro hac vice, as his

agent for service of process upon whom service of all papers shall be made. The undersigned

has appeared in this action, is subject to service through the Court’s Electronic Case Filing

System, and is familiar with the requirements of practice in this Court. Pursuant to LR

83.1(c)(1), the undersigned also maintains an office within this District:

                                       Yale Law School
                          Jerome N. Frank Legal Services Organization
                                       127 Wall Street,
                                    New Haven, CT 06511

       6.       Mr. Salahi designates the District of Connecticut as the forum for the resolution

of any dispute arising out of his admission to this Court.

       7.       Pursuant to L. Civ. R. 83.1(d)(4), a certificate of Mr. Salahi’s good standing as a

member of the Bar of the State of California, where he maintains his principal office, is attached

to this motion as Exhibit B.

       WHEREFORE, for the reasons set forth herein and good cause having been shown,

Plaintiff respectfully requests that the Court grant this motion for the admission of Yaman Salahi

pro hac vice.

                                              Respectfully Submitted,

Dated: June 5, 2023                           By: Michael J. Wishnie
                                              Michael J. Wishnie, ct27221
                                              Veterans Legal Services Clinic
                                              Jerome N. Frank Legal Services Organization
                                              P.O. Box 209090
                                              New Haven, CT 06520
                                              Tel: (203) 432-4800

                                              Counsel for Plaintiff



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